       Case 1:25-cv-00909-LLA         Document 51       Filed 07/17/25     Page 1 of 42




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 REBECCA KELLY SLAUGHTER, et al.,
 in their official and personal capacities,

                Plaintiffs,
                                                        Civil Action No. 25 - 909 (LLA)
        v.

 DONALD J. TRUMP, et al.,

                Defendants.



                                 MEMORANDUM OPINION

       More than a century ago, Congress created the Federal Trade Commission (the “FTC” or

“Commission”) as an independent, multimember body of experts committed to the regulation of

economic competition. To insulate the agency from volatile political headwinds that might

jeopardize its mission, Congress placed restrictions on the selection and tenure of FTC

Commissioners, including a requirement that they only be removed for “inefficiency, neglect of

duty, or malfeasance in office.” 15 U.S.C. § 41. Roughly two decades after the FTC’s creation,

the Supreme Court upheld this for-cause removal protection in Humphrey’s Executor v. United

States, 295 U.S. 602 (1935). Now, ninety years later, Commissioners Rebecca Slaughter and

Alvaro Bedoya bring this suit against President Trump and several FTC officials challenging their

purported removal from the FTC—without cause—in March 2025. ECF No. 1. Because the law

on the removal of FTC Commissioners is clear, and for the reasons explained below, the court will

grant Ms. Slaughter’s motion for summary judgment and deny Defendants’ cross-motion for

summary judgment.
       Case 1:25-cv-00909-LLA          Document 51        Filed 07/17/25      Page 2 of 42




                            I.      STATUTORY BACKGROUND

       In 1914, Congress passed the Federal Trade Commission Act (the “FTC Act”), Pub. L.

No. 63-203, 38 Stat. 717 (1914) (codified as amended at 15 U.S.C. § 41 et seq.), which established

the FTC to prevent “unfair methods of competition in commerce,” id. § 5.1 Congress simultaneously

passed the Clayton Act, which empowered the FTC to enforce prohibitions on price discrimination

and anticompetitive mergers. Clayton Act, Pub. L. No. 63-212, § 11, 38 Stat. 730, 734 (1914)

(codified as amended at 15 U.S.C. § 12 et seq.).

       At its inception, if the FTC suspected unfair competition, it could “issue and serve upon

[any] person, partnership, or corporation a complaint stating its charges” and request that the party

appear at a hearing to respond. FTC Act § 5, 38 Stat. at 719. The FTC could also enter an order

requiring the party “to cease and desist from [any] violation of law” charged in the complaint. Id.

If the party failed to obey the cease-and-desist order, the FTC could “apply to the circuit court of

appeals of the United States . . . for the enforcement of its order.” Id. In any such proceeding, the

“findings of the [C]ommission as to the facts, if supported by testimony, [would] be conclusive.”

Id.

       Additionally, the FTC had the power to investigate businesses for potential violations of

law, to require businesses to respond to inquiries about their practices, to monitor businesses for

compliance with court orders relating to antitrust violations, and—at the direction of certain

government offices—to make reports and recommendations about alleged violations of antitrust

laws. Id. § 6. It could even compel the testimony of witnesses. Id. § 9.



1
  Congress intended for the FTC Act to supplement the Sherman Antitrust Act of 1890, which
prohibited “[e]very contract, combination . . . , or conspiracy[] in restraint of trade or commerce
among the several States, or with foreign nations.” 15 U.S.C. § 1; see Fed. Trade Comm’n v.
Beech-Nut Packing Co., 257 U.S. 441, 453 (1922).

                                                   2
       Case 1:25-cv-00909-LLA          Document 51        Filed 07/17/25      Page 3 of 42




       Congress also gave the FTC quasi-judicial and quasi-legislative abilities. It empowered

the Commission to “make rules and regulations for the purpose of carrying out the provisions of

[the FTC] Act.” Id. § 6(g). Furthermore, if the Attorney General were to prevail in an antitrust

suit in equity against a defendant, the presiding court could “refer said suit to the [C]ommission,

as a master in chancery, to ascertain and report an appropriate form of decree.” Id. § 7.

       Congress designed the FTC to be led by a bipartisan group of five Commissioners, no more

than three of whom could belong to a single political party. Id. § 1.2 Each Commissioner had to

be appointed by the President and confirmed by the Senate. Id. The first FTC Commissioners

were appointed to staggered terms to enable future presidents to appoint new members. See id.

Successive Commissioners, however, would serve seven-year terms. Id. Most relevant here,

Congress enabled the President to remove the Commissioners for “inefficiency, neglect of duty,

or malfeasance in office.” Id.

       In 1938, Congress added the targeting of “unfair or deceptive acts or practices in commerce”

to the FTC’s mission. Wheeler-Lea Act, Pub. L. No. 75-447, § 3, 52 Stat. 111, 111-12 (1938). In

1973, the FTC gained the ability to “directly enforce subp[o]enas issued by the Commission

and . . . seek preliminary injunctive relief to avoid unfair competitive practices.” Trans-Alaska Oil

Pipeline Act, Pub. L. No. 93-153, § 408(b), 87 Stat. 576, 591-92 (1973). Then, in 1975, Congress

gave the FTC the ability to “commence a civil action to recover a civil penalty” of up to $10,000

per violation of the FTC Act or one of the Commission’s cease-and-desist orders. Magnuson-

Moss Act, Pub. L. No. 93-637, § 205(a), 88 Stat. 2183, 2200-01 (1975).




2
  The Senate Committee report explained that “it [was] essential that [the FTC] should not be open
to the suspicion of partisan direction.” S. Rep. No. 63-597, at 11 (1914).

                                                 3
       Case 1:25-cv-00909-LLA          Document 51       Filed 07/17/25      Page 4 of 42




                             II.     FACTUAL BACKGROUND

       While the parties disagree about a great many things, the following facts are not in dispute.

In 2018, President Trump nominated Ms. Slaughter—a Democrat—and four other nominees to be

Commissioners on the FTC. ECF No. 20-1 ¶ 1; ECF No. 32-2. The Senate unanimously confirmed

Ms. Slaughter in April 2018 and she began her seven-year term in May 2018. ECF No. 20-1 ¶ 2;

ECF No. 32-2. When President Biden took office in January 2021, he named Commissioner

Slaughter as the Commission’s Acting Chair. ECF No. 20-1 ¶ 4; ECF No. 32-2. She held that

position until the Senate confirmed Lina Khan to the FTC, who subsequently became Chair. ECF

No. 20-1 ¶ 4; ECF No. 32-2. In September 2021, President Biden nominated Mr. Bedoya—also a

Democrat—to the FTC. ECF No. 20-1 ¶ 8; ECF No. 32-2. In May 2022, the Senate confirmed

him to a term expiring in September 2026. ECF No. 20-1 ¶¶ 9-10; ECF No. 32-2.

       In February 2023, President Biden renominated Commissioner Slaughter to another seven-

year term. ECF No. 20-1 ¶ 5; ECF No. 32-2. In March 2024, the Senate again unanimously

confirmed her to a term expiring in September 2029. ECF No. 20-1 ¶¶ 6-7; ECF No. 32-2. In the

same slate of nominees, the Senate also confirmed Republican Commissioners Andrew Ferguson

and Melissa Holyoak. ECF No. 20-1 ¶ 6; ECF No. 32-2.

       In January 2025, President Trump designated Commissioner Ferguson as the Chair of the

FTC. ECF No. 20-1 ¶ 14; ECF No. 32-2. In March 2025, Commissioners Slaughter and Bedoya

received identical emails from Deputy Director of Presidential Personnel Trent Morse purportedly

removing them from their positions. ECF No. 20-1 ¶ 16; ECF No. 32-2. The emails contained a

message from President Trump stating: “I am writing to inform you that you have been removed

from the Federal Trade Commission, effective immediately.” ECF No. 1-2. The message

concluded: “Your continued service on the FTC is inconsistent with my Administration’s


                                                4
       Case 1:25-cv-00909-LLA           Document 51     Filed 07/17/25     Page 5 of 42




priorities. Accordingly, I am removing you from office pursuant to my authority under Article II

of the Constitution.” Id. The message did not indicate that either Commissioner was being fired

for inefficiency, neglect of duty, or malfeasance in office. See id.; ECF No. 20-1 ¶ 25; ECF

No. 32-2.

       Shortly after receiving the email, Commissioners Slaughter and Bedoya were unable to

access their work emails, government servers, and digital files. ECF No. 20-1 ¶ 18; ECF No. 32-2.

They were also denied access to their offices and members of their staff were placed on

administrative leave or reassigned to other positions within the FTC. ECF No. 20-1 ¶ 19; ECF

No. 32-2. On the FTC website, both are now listed as “former” Commissioners. ECF No. 20-1

¶ 19; ECF No. 32-2. Even though neither of their terms had expired and neither was alleged to

have “committed any inefficiency, neglect of duty, or malfeasance,” ECF No. 20-1 ¶ 25; ECF

No. 32-2, Ms. Slaughter and Mr. Bedoya are now wholly “unable to fulfill their duties as duly

appointed FTC Commissioners,” ECF No. 20-1 ¶ 20; ECF No. 32-2.

       The current, purported composition of the FTC consists of Republican Commissioners

Ferguson, Holyoak, and Mark Meador—who was confirmed by the Senate in April 2025. ECF

No. 20-1 ¶¶ 23-24; ECF No. 32-2.


                               III.    PROCEDURAL HISTORY

       In March 2025, Ms. Slaughter and Mr. Bedoya sued President Trump, FTC Chair

Ferguson, FTC Commissioner Holyoak, and FTC Executive Director David Robbins seeking

various forms of relief. ECF No. 1. They assert that their purported removals were unlawful and

therefore without legal effect. Id. at 3.

       In April 2025, Plaintiffs moved for expedited summary judgment, seeking declaratory

relief and a permanent injunction prohibiting Defendants from interfering with their roles as FTC

                                               5
       Case 1:25-cv-00909-LLA         Document 51        Filed 07/17/25     Page 6 of 42




Commissioners. ECF No. 20-2, at 34. In the alternative, Plaintiffs seek a writ of mandamus

affording the same relief. Id.3 Later that month, Defendants opposed Plaintiffs’ motion and filed

a cross-motion for summary judgment. ECF Nos. 32, 33.4 Briefing on both motions was

completed in mid-May, ECF Nos. 38, 39, 43, and the court held a motions hearing on May 20,

2025, see May 20, 2025 Minute Entry.

       On June 9, 2025, Mr. Bedoya notified the court that he had formally resigned from his

position as a Commissioner of the FTC. ECF No. 46. He explained that his purported termination

had “denied [him] the wages, benefits, and resources to which [he was] legally entitled as an FTC

Commissioner.” ECF No. 46-1 ¶ 7. Because “[a]pplicable rules and regulations limit an FTC

Commissioner’s ability to accept other employment while serving on the Commission,”

Mr. Bedoya “[could] no longer afford to go without any source of income.” Id. ¶ 8. Despite his

resignation, he “continue[s] to seek any and all relief appropriate in light of [his] new

circumstances, including a declaratory ruling from this [c]ourt recognizing that the President’s

‘purported termination’ without cause . . . was ‘unlawful.’” Id. ¶ 10 (quoting ECF No. 1, at 19).

The court subsequently ordered the parties to submit supplemental briefing on Mr. Bedoya’s

standing to proceed with the case, June 11, 2025 Minute Order, which the parties submitted on

June 18, ECF Nos. 48, 49.




3
 The following entities and individuals filed amicus briefs in support of Plaintiffs’ Motion for
Summary Judgment: Members of Congress, ECF No. 25; the State of Colorado and a coalition of
19 other states and the District of Columbia, ECF No. 27; Professor of Law Jed H. Shugerman,
ECF No. 29; and Professors John C. Coates, Jeffrey N. Gordon, Kathryn Judge, and Lev Menand,
ECF No. 30.
4
 The following entities filed amicus briefs in support of Defendants’ Cross-Motion for Summary
Judgment: the State of Florida and a coalition of twenty other states and the Arizona Legislature,
ECF No. 34; and the Christian Employers Alliance, ECF No. 37.

                                                6
       Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25       Page 7 of 42




                                  IV.        LEGAL STANDARDS

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

Where the parties do not dispute any material facts, as is the case here, the matter is “particularly

amenable to resolution on summary judgment” because all that remains is the application of law.

W & T Travel Servs., LLC v. Priority One Servs., Inc., 69 F. Supp. 3d 158, 164 (D.D.C. 2014).


                                        V.     DISCUSSION

       The court’s analysis proceeds in four parts. First, the court addresses Mr. Bedoya’s

standing. Second, the court walks through the Supreme Court’s ninety-year-old jurisprudence on

removal protections for Executive-Branch officers generally and FTC Commissioners specifically.

Third, the court analyzes how that precedent—most importantly, Humphrey’s Executor, 295 U.S.

602 (1935)—affects the outcome of this case. Finally, the court addresses the scope of available

remedies to which Plaintiffs are entitled.


                        A.     The Justiciability of Mr. Bedoya’s Claims

       “In order to invoke federal-court jurisdiction, a plaintiff must demonstrate that he possesses

a legally cognizable interest, or ‘personal stake,’ in the outcome of the action.” Genesis Healthcare

Corp. v. Symczyk, 569 U.S. 66, 71 (2013) (quoting Camreta v. Greene, 563 U.S. 692, 701 (2011)).

Absent certain circumstances not present here, he must maintain that personal stake for the

duration of the case. If he fails to do so, “the action can no longer proceed [against him] and must

be dismissed as moot.” Id. at 72. Defendants argue that Mr. Bedoya’s claims have become moot

because he has resigned from his position as an FTC Commissioner. ECF No. 49, at 3-8. The

court agrees.



                                                  7
       Case 1:25-cv-00909-LLA            Document 51        Filed 07/17/25       Page 8 of 42




       In the complaint, Mr. Bedoya sought (1) a declaration that he remained a rightful

Commissioner of the FTC (and that President Trump’s purported removal of him was without

legal effect), and (2) a permanent injunction requiring Defendants to continue treating him as such.

ECF No. 1, at 19-20. Mr. Bedoya’s resignation from the FTC plainly moots the second request.

Now that he has voluntarily relinquished the role he was fighting to keep, the court cannot grant

injunctive relief restoring him to that role. There would be no remedial effect of this court’s

instructing Defendants to treat Mr. Bedoya as an FTC Commissioner when he himself no longer

claims that position. In other words, he “has nothing to gain from the equitable relief []he seeks.”

Bois v. Marsh, 801 F.2d 462, 466 (D.C. Cir. 1986). Because the facts of the case have “outrun the

controversy such that the court can grant no meaningful relief,” the request for an injunctive

remedy as it concerns Mr. Bedoya “must be dismissed as moot.” McBryde v. Comm. to Rev. Cir.

Council Conduct & Disability Ords. of the Jud. Conf. of the U.S., 264 F.3d 52, 55 (D.C. Cir. 2001).

       Whether Mr. Bedoya retains standing to demand declaratory relief is a closer question, but

not close enough. Under established D.C. Circuit precedent, “[w]hen a plaintiff’s specific claim

is moot . . . [and he] merely attacks an isolated agency action, . . . the mooting of the specific claim

moots any claim for a declaratory judgment that the specific action was unlawful.” City of Houston

v. Dep’t of Hous. & Urban Dev., 24 F.3d 1421, 1429 (D.C. Cir. 1994). Here, Mr. Bedoya’s quarrel

is with his purported termination—an “isolated” act by Defendants. Now that that particular

disagreement is moot, the court lacks authority to opine on the legality of that act in the absence

of an ongoing injury.

       Mr. Bedoya argues that he is still entitled to declaratory relief because he continues to

suffer reputational harm arising from the confusion over his alleged termination. ECF No. 48,

at 5-6. He consequently asks the court to “‘clarify[] the legal relations between [himself and


                                                   8
       Case 1:25-cv-00909-LLA            Document 51     Filed 07/17/25      Page 9 of 42




Defendants], and establish[] that [Defendants’] conduct on this record’ violated the law and d[id]

not have legal effect.” Id. at 8-9 (fourth alteration in original) (quoting Anatol Zukerman &

Charles Krause Reporting, LLC v. United States, 64 F.4th 1354, 1366-67 (D.C. Cir. 2023)).

Unfortunately for Mr. Bedoya, an abundance of case law makes plain that there is no standing

“where reputational injury is the lingering effect of an otherwise moot aspect of a lawsuit.”

Foretich v. United States, 351 F.3d 1198, 1212 (D.C. Cir. 2003); id. at 1213 (“Because the cause

of the reputational harm is an otherwise moot government action, a judicial declaration that the

action was unlawful is not likely to provide any further relief beyond that resulting from the

expiration of the action itself.”).

        In summary, Mr. Bedoya’s allegations of continuing injury were rooted in his claim to a

role he no longer desires. A declaratory ruling would not correct an ongoing harm to him; it would

be an advisory opinion about a dead controversy. And because Mr. Bedoya does not seek

damages, the nature of his requested relief is strictly in the here-and-now.5 Although the court is

sympathetic to Mr. Bedoya’s motivations for resigning, he has failed to “maintain [his] personal

interest in the dispute at all stages of litigation.” TransUnion, 594 U.S. at 431. Accordingly, the

court will dismiss his claims as moot.




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  Indeed, Plaintiffs’ request for injunctive relief is premised on the assertion that damages are
insufficient to afford complete relief here, given the unique nature and role of being an FTC
Commissioner. See ECF No. 20-2, at 28-29 (“[A]ny argument that mere monetary damages are
sufficient here would make a mockery of the FTC Act[.]”).

                                                9
      Case 1:25-cv-00909-LLA            Document 51       Filed 07/17/25      Page 10 of 42




             B.     The Supreme Court’s Removal-Protection Jurisprudence for
                                    Multimember Agencies

                                   1.     Myers v. United States

       Article II of the United States Constitution vests all “executive Power” in the President.

U.S. Const. art. II, § 1. It also assigns the President the responsibility to “take Care that the Laws

be faithfully executed.” Id. § 3. “[B]ecause it would be ‘impossib[le]’ for ‘one man’ to ‘perform

all the great business of the State,’ the Constitution assumes that lesser executive officers will

‘assist the [President] in discharging [his] duties[.]’” Seila Law LLC v. Consumer Fin. Prot.

Bureau, 591 U.S. 197, 213 (2020) (quoting 30 Writings of George Washington 334 (J. Fitzpatrick

ed. 1939)). These executive officers “must remain accountable to the President,” lest the President

be hindered from faithfully executing the laws. Id. at 213-14.

       In Myers v. United States, 272 U.S. 52 (1926), the Supreme Court held that the combined

powers and responsibilities under Article II granted the President “general administrative control

of those executing the laws, including the power of appointment and removal of executive

officers.” Id. at 164. In that case, the Court considered the constitutionality of a statute that

required the President to obtain the Senate’s advice and consent before removing a United States

postmaster. Id. at 107. Striking down the law, the Court explained that the President’s power to

“select those who . . . act for him under his direction in the execution of the laws” must also imply,

“in the absence of any express limitation respecting removals, . . . power [to] remov[e] those for

whom he cannot continue to be responsible.” Id. at 117. This basic understanding of the

President’s removal power dates back to 1789 and has only been restrained by narrow exceptions

since Myers.




                                                 10
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 11 of 42




                          2.      Humphrey’s Executor v. United States

       Nine years after invalidating the statute in Myers, the Supreme Court considered whether

the FTC Act’s for-cause removal protections also violated the President’s Article II authority. In

the lead-up to Humphrey’s Executor v. United States, 295 U.S. 602 (1935), President Roosevelt

had asked FTC Commissioner William Humphrey to resign from his post because the two

disagreed on key policy issues. Id. at 618. When Commissioner Humphrey refused, President

Roosevelt sent him a letter “remov[ing] [him] from the office of Commissioner,” effective

immediately.    Id. at 619.    Because then, as now, the FTC Act only permitted removal of

Commissioners “for inefficiency, neglect of duty, or malfeasance in office,” Humphrey “continued

thereafter to insist that he was still a member of the [C]ommission.” Id. Following his death,

Humphrey’s estate sued for backpay. Id. at 618.

       In a unanimous opinion, the Court sided with Commissioner Humphrey and held that the

FTC Act’s removal protections for FTC Commissioners did not violate Article II. Id. at 629-32.

The Court began by describing the FTC’s various powers, noting that the FTC was empowered to

prevent “unfair methods of competition in commerce,” “issue . . . complaint[s] stating its charges,”

issue cease-and-desist orders, and apply to a United States circuit court of appeals to enforce such

orders. Id. at 620-21. It also observed that the FTC had “wide powers of investigation in respect

of certain corporations subject to the act” and the ability to decide the appropriate course of action

as a “master in chancery” when prompted by the Attorney General. Id. at 621. The Court further

recognized that “[t]he [C]ommission is to be nonpartisan; and it must, from the very nature of its

duties, act with entire impartiality.” Id. at 624. As the Court clarified, “[the FTC] is charged with

the enforcement of no policy except the policy of the law,” and “[i]ts duties are neither political

nor executive, but predominantly quasi judicial and quasi legislative.” Id.


                                                 11
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 12 of 42




       In Humphrey’s Executor, the United States had argued that the FTC Act’s protections

conflicted with Myers’s broad pronouncement of Presidential removal power. Id. at 626. But the

Court declined to follow Myers because the role of a postmaster was too dissimilar from that of an

FTC Commissioner: a postmaster performed only “executive functions” and lacked any

“legislative or judicial power.” Id. at 627. Myers, the Court explained, only applied to “purely

executive officers” and went “no farther.” Id. at 627-28. In contrast, the FTC “is an administrative

body created by Congress to carry into effect legislative policies” and “to perform other specified

duties as a legislative or as a judicial aid.” Id. at 628. In the Court’s view, “[s]uch a body cannot

in any proper sense be characterized as an arm or an eye of the executive” because “[i]ts duties are

performed without executive leave and . . . must [therefore] be free from executive control.” Id.

       Acknowledging that the United States’ position would expose countless other federal

positions—like judgeships on the U.S. Court of Claims—to unfettered removals, the Court

“th[ought] it plain under the Constitution that the illimitable power of removal is not possessed by

the President [over] officers of the character of [agencies like the FTC].” Id. at 629. As the Court

explained, Congress “[un]doubted[ly]” had the power to create quasi-legislative or quasi-judicial

agencies and instruct them to act “independently of executive control.” Id. Without removal

protections, that independence would be jeopardized. Id.; see id. (“[I]t is quite evident that one

who holds his office only during the pleasure of another cannot be depended upon to maintain an

attitude of independence against the latter’s will.”).

       Accordingly, the Court held that the FTC Act’s for-cause removal protections were

constitutional. Id. at 632. In so holding, it explained that “the power of the President to remove

an officer” in the face of congressionally imposed limits “will depend on the character of the

office.” Id. at 631. The Court recognized that its decision left open “a field of doubt” as to the


                                                  12
      Case 1:25-cv-00909-LLA           Document 51         Filed 07/17/25      Page 13 of 42




President’s removal powers in the gap between “purely executive officers”—as in Myers—and

“officers of the [FTC].” Id. at 631-32. It opted to leave those thorny, inevitable questions “for

future consideration and determination as they may arise.” Id. at 632.6


        3.      Free Enterprise Fund v. Public Company Accounting Oversight Board

       Three-quarters of a century later, the Supreme Court decided Free Enterprise Fund v.

Public Company Accounting Oversight Board, 561 U.S. 477 (2010). Free Enterprise Fund

concerned whether “separate layers of [for-cause removal] protection may be combined,” such

that a President is “restricted in his ability to remove a principal officer, who is in turn restricted

[from] remov[ing] an inferior officer.” Id. at 483-84. While that question is distinct from the issue

presented here, the Court used the opinion to clarify its removal-protection jurisprudence.

       In holding that “such multilevel protection from removal is contrary to Article II[],” the

Court did not disturb its conclusion in Humphrey’s Executor that the President’s removal authority

“is not without limit.” Id. at 483-84. Instead, it reaffirmed the notion that Congress could “confer[]

good-cause tenure on the principal officers of certain independent agencies” like the FTC because

that agency was “‘quasi-legislative and quasi-judicial,’ rather than ‘purely executive.’” Id. at 493

(quoting Humphrey’s Ex’r, 295 U.S. at 627-29).




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  Between Humphrey’s Executor and Free Enterprise Fund v. Public Company Accounting
Oversight Board, 561 U.S. 477 (2010), the Court decided Wiener v. United States, 357 U.S. 349
(1958), and Morrison v. Olson, 487 U.S. 654 (1988). In Wiener, the Supreme Court relied on
Humphrey’s Executor’s rationale to unanimously uphold removal protections for the War Claims
Commission. Wiener, 357 U.S. at 353-56. Thirty years later, in Morrison, the Court held that
Congress could also limit a principal officer’s ability to remove an inferior officer to only
circumstances where the principal officer has “good cause” for doing so. 487 U.S. at 693.

                                                  13
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 14 of 42




                   4.     Seila Law v. Consumer Financial Protection Bureau

          Ten years after Free Enterprise Fund, the Supreme Court addressed yet another new

removal-protection context. In Seila Law LLC v. Consumer Financial Protection Bureau, 591

U.S. 197 (2020), the Court considered the constitutionality of removal protections for agencies

“wield[ing] significant executive power and . . . run by a single individual.” Id. at 204. The Court

held that such protections violated Article II and thus declined to extend the Humphrey’s Executor

rule to any single-director agencies. Id. at 204-05. Under Seila Law, any principal officer who

acts as the sole director of an independent agency must be removable by the President at-will. Id.

at 205.

          At the same time, the Court reaffirmed its holding in Humphrey’s Executor. The Court

explained that “Free Enterprise Fund left in place two exceptions to the President’s unrestricted

removal power”: (1) “one for multimember expert agencies that do not wield substantial executive

power,” and (2) “one for inferior officers with limited duties and no policymaking or

administrative authority.” Seila Law, 591 U.S. at 215, 218.


           C.     Whether Humphrey’s Executor Controls the Outcome of This Case

          The answer to the key substantive question in this case—whether a unanimous Supreme

Court decision about the FTC Act’s removal protections applies to a suit about the FTC Act’s

removal protections—seems patently obvious. In arguing for a different result, Defendants ask

this court to ignore the letter of Humphrey’s Executor and embrace the critiques from its detractors.

Defendants hope that, after doing so, this court will bless what amounts to the implied overruling

of a ninety-year-old, unanimous, binding precedent.        Because “it is [the Supreme] Court’s

prerogative alone to overrule one of its precedents,” United States v. Hatter, 532 U.S. 557, 567




                                                 14
      Case 1:25-cv-00909-LLA           Document 51         Filed 07/17/25      Page 15 of 42




(2001) (quoting State Oil Co. v. Khan, 522 U.S. 3, 20 (1997)), the court cannot, and will not, fulfill

that request.


                  1.      Humphrey’s Executor remains binding on this court

       The Supreme Court has made clear that “‘[i]f [one of its] precedent[s] . . . has direct

application in a case,’ . . . a lower court ‘should follow the case which directly controls, leaving to

[the Supreme] Court the prerogative of overruling its own decisions.” Mallory v. Norfolk S. Ry.

Co., 600 U.S. 122, 136 (2023) (quoting Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490

U.S. 477, 484 (1989)). This holds true “even if the lower court thinks the precedent is in tension

with ‘some other line of decisions’” by the Supreme Court. Id. (emphasis added) (quoting

Rodriguez de Quijas, 490 U.S. at 484).

       Humphrey’s Executor involved the exact same provision of the FTC Act that Ms. Slaughter

seeks to enforce here: the for-cause removal protection within 15 U.S.C. § 41 prohibiting any

termination except for “inefficiency, neglect of duty, or malfeasance in office.” Defendants

concede that Ms. Slaughter was not removed for any of those enumerated reasons. ECF No. 32-2

¶ 1. Instead, President Trump purported to remove her because her “continued service on the FTC

[was] inconsistent with [his] Administration’s priorities.” ECF No. 1-2.

       These facts almost identically mirror those of Humphrey’s Executor. President Roosevelt

did not hide his motivation for removing Commissioner Humphrey: the President explained “that

the aims and purposes of [his] Administration with respect to the work of the Commission c[ould]

be carried out most effectively with personnel of [his] own selection.” Humphrey’s Ex’r, 295 U.S.

at 618. He reiterated this point in a subsequent letter, writing, “I do not feel that your mind and

my mind go along together on either the policies or the administering of the Federal Trade




                                                  15
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 16 of 42




Commission.” Id. at 619. Like here, President Roosevelt did not purport to base the removal on

inefficiency, neglect of duty, or malfeasance.

       Similarly, in Humphrey’s Executor, the United States argued that restricting the President’s

removal power was an “unconstitutional interference” with his Article II authority. Id. at 626. The

United States relied on Myers to make its case, see Humphrey’s Ex’r, 295 U.S. at 626, much like

President Trump does here, see ECF No. 1-2 (beginning his explanation for Ms. Slaughter’s

removal by citing to Myers). But the Court remained unconvinced and unanimously upheld the

FTC Act’s removal protections as “plain[ly]” constitutional. Humphrey’s Ex’r, 295 U.S. at 629.

The Court elaborated by saying that Congress had unquestionable authority to “creat[e] quasi

legislative or quasi judicial agencies[] [and] to require them to act in discharge of their duties

independently of executive control.” Id.

       Humphrey’s Executor remains good law today. Over the span of ninety years, the Supreme

Court has declined to revisit or overrule it. See Wiener v. United States, 357 U.S. 349, 356 (1958)

(relying on the “philosophy” and “explicit language” of Humphrey’s Executor to unanimously

uphold removal protections for the War Claims Commission); Morrison v. Olson, 487 U.S. 654,

687 (1988) (reaffirming Humphrey’s Executor’s “plain” holding); Free Enter. Fund, 561 U.S.

at 483 (reiterating Humphrey’s Executor’s holding that Presidential removal authority “is not

without limit”); Seila Law, 591 U.S. at 204, 228 (“[W]e do not revisit Humphrey’s Executor or

any other precedent today[.]”); Collins v. Yellen, 594 U.S. 220, 250-51 (2021) (noting that the

Court “did ‘not revisit [its] prior decisions allowing certain limitations on the President’s removal

power’” in Seila Law (quoting Seila Law, 591 U.S. at 204)). In fact, the Court has expressly left

Humphrey’s Executor “in place.” Seila Law, 591 U.S. at 215. During that period, Congress has

not once disturbed the FTC Act’s removal protection, while thirteen Presidents have acquiesced


                                                 16
      Case 1:25-cv-00909-LLA           Document 51         Filed 07/17/25      Page 17 of 42




to its vitality. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 610-11 (1952)

(Frankfurter, J., concurring) (“[A] systematic, unbroken, executive practice, long pursued to the

knowledge of the Congress and never before questioned, engaged in by Presidents who have also

sworn to uphold the Constitution . . . may be treated as a gloss on ‘executive Power’ vested in the

President by [Article II].”).

        Beyond the Supreme Court, countless lower federal courts have relied on Humphrey’s

Executor to reject challenges to the FTC Act’s removal protections. See, e.g., Meta Platforms,

Inc. v. Fed. Trade Comm’n, No. 24-5054, 2024 WL 1549732, at *2 (D.C. Cir. Mar. 29, 2024)

(rejecting Meta’s argument that the FTC Act “likely violates Article II by limiting the President’s

power to remove the [FTC’s] Commissioners” because “[t]he Supreme Court already answered

this question adversely to Meta” and “has not disturbed that precedent”); Illumina, Inc. v. Fed.

Trade Comm’n, 88 F.4th 1036, 1046-47 (5th Cir. 2023) (rejecting Illumina’s argument “that the

FTC unconstitutionally exercised executive powers while insulated from presidential removal in

violation of Article II” as foreclosed by Humphrey’s Executor).

        Courts have likewise upheld similar protections in the context of other, analogous agencies.

See, e.g., Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748, 760 (10th Cir. 2024)

(“Since the Supreme Court’s decision in Humphrey’s Executor, the constitutionality of

independent [multimember] agencies, whose officials possess some degree of removal protection

that insulates them from unlimited and instantaneous political control, has been uncontroversial.”),

cert. denied, 145 S. Ct. 1047 (2025); Consumers’ Rsch. v. Consumer Prod. Safety Comm’n, 91

F.4th 342, 346 (5th Cir.) (rejecting the plaintiffs’ challenge to the constitutionality of the Consumer

Product Safety Commission—“a mirror image of the [FTC]”—as foreclosed by Humphrey’s

Executor), cert. denied, 145 S. Ct. 414 (2024); YAPP USA Automotive Sys. v. Nat’l Lab. Rels. Bd.,


                                                  17
      Case 1:25-cv-00909-LLA           Document 51      Filed 07/17/25     Page 18 of 42




748 F. Supp. 3d 497, 508 (E.D. Mich.) (upholding the National Labor Relations Board’s removal

protections as constitutional under Humphrey’s Executor), stay pending appeal denied, No. 24-1754,

2024 WL 4489598 (6th Cir. Oct. 13, 2024), appl. for writ of inj. denied, No. 24A348, 2024 WL

4508993 (2024); Alivio Med. Ctr. v. Abruzzo, No. 24-CV-2717, 2024 WL 4188068, at *9 (N.D. Ill.

Sept. 13, 2024) (same); Kerwin v. Trinity Health Grand Haven Hosp., No. 24-CV-445, 2024 WL

4594709, at *7 (W.D. Mich. Oct. 25, 2024) (same); Loren Cook Co. v. Nat’l Lab. Rels. Bd.,

No. 24-CV-3277, 2024 WL 5004534, at *6 (W.D. Mo. Nov. 27, 2024) (same); Overstreet v. Lucid

USA Inc., No. 24-CV-1356, 2024 WL 5200484, at *10 (D. Ariz. Dec. 23, 2024) (same). But see

Space Expl. Techs. Corp. v. Nat’l Lab. Rels. Bd., 741 F. Supp. 3d 630, 637 (W.D. Tex.) (holding

that the National Labor Relations Board’s removal protections are unconstitutional because its

“members clearly wield substantial executive power”), appeal filed, No. 24-50627 (5th Cir. 2024).

       Indeed, courts have already considered—and rejected—President Trump’s challenges to

similar removal restrictions for other independent, multimember agencies. In Wilcox v. Trump,

775 F. Supp. 3d 215 (D.D.C. 2025), for example, the court blocked President Trump’s attempt to

remove a member of the National Labor Relations Board (“NLRB”) by relying on Humphrey’s

Executor. Id. at 223-35. In so holding, it rebuffed President Trump’s argument that the Supreme

Court had “repudiat[ed]” Humphrey’s Executor. Id. at 228-29. Similarly, in Harris v. Bessent,

775 F. Supp. 3d 164 (D.D.C. 2025), the court held that President Trump’s attempt to remove a

member of the Merit System Protects Board (“MSPB”) was unlawful under Humphrey’s Executor.

Id. at 173-178. It held that the Supreme Court had recently “reaffirmed the constitutionality of

multimember boards with for-cause removal protections, as those agencies have a robust basis in

this country’s history.” Id. at 175.




                                               18
      Case 1:25-cv-00909-LLA          Document 51        Filed 07/17/25      Page 19 of 42




       To be sure, Wilcox and Harris have colorful subsequent history. On March 28, 2025, a

motions panel of the D.C. Circuit granted the United States’ emergency motions for a stay pending

appeal in both cases. Harris v. Bessent, No. 25-5037, 2025 WL 980278, at *1 (D.C. Cir. Mar. 28,

2025). Judges Walker and Henderson concurred in the decision, reasoning that the United States

was substantially likely to succeed in showing that the NLRB and MSPB exercised substantial

executive power and therefore did not fall within the ambit of Humphrey’s Executor. See Harris,

2025 WL 980278, at *13-18 (Walker, J., concurring); id. at *21-23 (Henderson, J., concurring).

Judge Millett dissented, writing that the “none of the government’s arguments . . . distinguish[ed]

the MSPB or NLRB in any materially relevant way from the Supreme Court’s holdings in

Humphrey’s Executor and Wiener.” Id. at *33 (Millett, J., dissenting). Then, on April 7, the en

banc D.C. Circuit vacated the panel’s decision and denied the United States’ motion for a stay

pending appeal. Harris v. Bessent, No. 25-5037, 2025 WL 1021435, at *1-2 (D.C. Cir. Apr. 7,

2025). The D.C. Circuit explained that the “Supreme Court’s repeated and recent statements that

Humphrey’s Executor and Wiener remain precedential require[d] denying the government’s

emergency motions.” Id. at *2. The United States subsequently asked the Supreme Court to stay

the district court decisions in Wilcox and Harris (and effectively vacate the D.C. Circuit’s en banc

order), which the Court ultimately did on May 22. Trump v. Wilcox, 145 S. Ct. 1415, 1415 (2025).

While the Supreme Court’s stay “reflect[ed] [its] judgment that the Government is likely to show

that both the NLRB and MSPB exercise considerable executive power,” it “d[id] not ultimately

decide in this posture whether the NLRB or MSPB falls within . . . a recognized [removal-power]

exception.” Id. Curiously, the Court did not cite Humphrey’s Executor in reaching this conclusion.

See id. at 1419 (Kagan, J., dissenting) (“[H]ere the President fired the NLRB and MSPB




                                                19
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 20 of 42




Commissioners in the teeth of Humphrey’s, betting that this Court would acquiesce. And the

majority today obliges—without so much as mentioning Humphrey’s.”).

       Defendants urge this court to read the tea leaves of Wilcox and Harris as further support

for their position that this court can and should jettison Humphrey’s Executor. See ECF No. 44,

at 2 (“[T]he Supreme Court’s stay counsels against issuance of the relief Plaintiffs seek here.”).

But the Supreme Court’s stay order is not a decision on the merits. The Court expressly left the

pivotal legal questions “for resolution after full briefing and argument.” Wilcox, 145 S. Ct. at 1415.

And even taking the Court’s pronouncements at face value, its order only addressed removal

protections as they pertain to the NLRB and MSPB. Id. The sole justification for granting the

application was that the President “may remove without cause executive officers who exercise that

power on his behalf, subject to narrow exceptions recognized by our precedents.” Id. (emphasis

added). Humphrey’s Executor, of course, is one of those precedents, and it dealt with, as here, the

FTC. Accordingly, any suggestion that Humphrey’s Executor may not extend to other agencies

cannot be read as an invitation to sidestep its application to the FTC.7




7
  Recently, the U.S. District Court for the District of Maryland held that President Trump’s attempt
to terminate several members of the Consumer Product Safety Commission (the “CSPC”) without
cause was unlawful. Boyle v. Trump, No. 25-CV-1628, 2025 WL 1677099, at *15 (D. Md. June 13,
2025). The government sought a stay of the District of Maryland’s order and argued that the
Supreme Court’s stay in Wilcox required a ruling in its favor. The Fourth Circuit disagreed and
denied the application for a stay. Boyle v. Trump, No. 25-1687, 2025 WL 1808180, at *1 (4th Cir.
July 1, 2025). In his concurrence, Judge Wynn explained that “Seila Law [did not] implicitly
abrogate . . . Humphrey’s Executor” and that “Wilcox does not alter the [relevant,] controlling
precedent.” Id. at *2 (Wynn, J., concurring). “Because Defendants’ likelihood of success [was]
thoroughly foreclosed by existing case law,” and because the remaining stay factors weighed in
favor of the plaintiff commissioners, staying the district court’s ruling would have been improper.
Id. at *2-4. The next day, the government filed an application with the Supreme Court to stay the
district court’s order and vacate the Fourth Circuit’s denial of a stay. Appl. to Stay, Trump v.
Boyle, No. 25A11 (July 2, 2025). That application remains pending as of this opinion’s issuance.

                                                 20
       Case 1:25-cv-00909-LLA            Document 51         Filed 07/17/25        Page 21 of 42




        That said, the court acknowledges that the Supreme Court has questioned aspects of the

Humphrey’s Executor decision. For example, in Morrison, the Court noted in dicta that “it is hard

to dispute that the powers of the FTC at the time of Humphrey’s Executor would at the present

time be considered ‘executive,’ at least to some degree.” Morrison, 487 U.S. at 689 n.28. And

more recently, in Seila Law, the Court observed—again in dicta—that the “conclusion that the

FTC did not exercise executive power has not withstood the test of time.” 591 U.S. at 216 n.2.

But whether or not the Supreme Court has lost faith in its ninety-year-old holding is not a decision

for this court to make. See Agostini v. Felton, 521 U.S. 203, 238 (1997) (holding that the trial

court was correct to apply “binding precedent” “unless and until [the Supreme] Court reinterpreted

[it]”). Even if the Supreme Court eventually chooses to overrule Humphrey’s Executor, it would

be an act of judicial hubris for this court to do so prematurely (especially “through gloss added by

a later Court in dicta,” Seila Law, 591 U.S. at 219 n.4.).


             2.      The modern FTC remains protected by Humphrey’s Executor

        In an attempt to sidestep Humphrey’s Executor’s direct application to this case, Defendants

argue that “the Supreme Court . . . did not sanction removal protections in perpetuity for the FTC”

and that “Commissioners of the present-day FTC do not fit within [the Humphrey’s Executor]

exception[].” ECF No. 32-1, at 10. The core factual premise undergirding Defendants’ position

is that the powers of the 1935-era FTC in Humphrey’s Executor pale in comparison to those of its

modern-day counterpart. In their view, even the Humphrey’s Executor Court would have struck

down the FTC Act’s removal protections if it were deciding the case today. Defendants are not

the first litigants to sell this argument, and this court will not be the first to buy it.




                                                    21
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 22 of 42




                                 a.     The FTC’s original powers

       Defendants begin by highlighting portions of Humphrey’s Executor that rhetorically

downplay the FTC’s powers. See ECF No. 32-1, at 10-11. For example, the Court viewed the

agency as “an administrative body created by Congress to carry into effect legislative

policies . . . and to perform other specified duties as a legislative or judicial aid.” Humphrey’s

Ex’r, 295 U.S. at 628. “Such a[n] [agency could] not in any proper sense be characterized as an

arm or an eye of the executive.” Id. Instead, it acted primarily in a quasi-judicial and quasi-

legislative role. Id. Any “executive function” that it wielded, “as distinguished from executive

power in the constitutional sense,” only furthered the “effectuation of its quasi legislative or quasi

judicial powers.” Id. According to Defendants, these passages indicate that the Humphrey’s

Executor Court would not intend for its ruling to embrace the FTC as it exists today.

       Defendants assert that the current FTC—contrary to its 1935 form—“exercises significant

executive power” in three key ways. ECF No. 32-1, at 11; see id. at 4-6. First, it “investigates

potential violations” of federal law and, “where the evidence supports such action, . . . prosecutes

violations of [the relevant] statutes.” Id. at 11; see 15 U.S.C. §§ 46(a) (authorizing investigations

of entities engaging in business that affects commerce), 49 (authorizing the FTC to subpoena

testimony and evidence relating to any pending investigation), 57b-1(c) (authorizing civil

investigative demands). Second, the current FTC may administratively adjudicate claims itself.

ECF No. 32-1, at 12; 15 U.S.C. § 45(b) (allowing the FTC to issue administrative complaints,

require parties to appear before it for a hearing, and serve cease-and-desist orders). And third, the

current FTC can promulgate rules and regulations to prevent unfair business practices. 15 U.S.C.

§ 46(g) (permitting the FTC to “make rules and regulations for the purpose of carrying out the

provisions of [the FTC] Act”).


                                                 22
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 23 of 42




       The biggest problem with this line of attack is that the FTC possessed each of these powers

from the moment it was created and well before the Supreme Court decided Humphrey’s Executor.

The FTC’s organic statute, passed in 1914, gave it broad investigatory powers like the ability to

issue subpoenas, compel testimony, and acquire evidence. See FTC Act § 6(a), 38 Stat. at 721

(giving the FTC power “[t]o gather and compile information concerning, and to investigate from

time to time the organization, business, conduct, practices, and management of any corporation

engaged in commerce”); id. § 6(b) (enabling the FTC to request annual or special reports, made

under oath, from corporations engaged in commerce); id. § 9 (authorizing the FTC to demand the

production of evidence, issue subpoenas and, if necessary, enforce subpoenas in federal court).

The statute also enabled the FTC to adjudicate claims through its own administrative process. Id.

§ 5 (allowing the FTC to issue administrative complaints, require the attendance of the charged

parties at a hearing, reduce any given testimony to writing, and—if the Commission is “of the

opinion that the method of competition in question is prohibited by [the FTC] Act”—issue and

serve a cease-and-desist order on the charged party). And it also provided the FTC with

rulemaking power. Id. § 6(g); see Nat’l Petroleum Refiners Ass’n v. Fed. Trade Comm’n, 482

F.2d 672, 685-86 (D.C. Cir. 1973) (holding that the plain language of the FTC Act “confirm[ed]

the framers’ intent to allow [the] exercise of [substantive rulemaking] power”).

       Indeed, the Humphrey’s Executor Court discussed each of these three categories of actions:

it addressed the Commission’s “wide powers of investigation” flowing from Section 6 of the FTC

Act, Humphrey’s Ex’r, 295 U.S. at 621; its administrative adjudicatory powers, like ordering

parties to appear, show cause, or cease and desist from certain actions, id. at 620-21; and its “quasi

legislative” role in effectuating the FTC Act, id. at 624; see Immigr. & Naturalization Serv. v.

Chadha, 462 U.S. 919, 953 n.16 (1983) (citing Humphrey’s Executor as an example of the Court


                                                 23
      Case 1:25-cv-00909-LLA             Document 51       Filed 07/17/25      Page 24 of 42




“referr[ing] to agency [rulemaking, or ‘lawmaking’] as being ‘quasi-legislative’ in character”). To

the extent Defendants attempt to hang their hats on critiquing these original powers, their argument

necessarily fails under Humphrey’s Executor. The Court in that case was plainly aware of the

FTC’s investigatory, adjudicatory, and rulemaking abilities and yet it upheld the FTC Act’s

removal protections as constitutional.

       True, the Supreme Court in Seila Law suggested that the Humphrey’s Executor Court may

not have considered the full panoply of the FTC’s powers when reaching its decision in 1935. See

Seila Law, 591 U.S. at 219 n.4 (“Perhaps the FTC possessed broader rulemaking, enforcement,

and adjudicatory powers than the Humphrey’s Court appreciated. Perhaps not. Either way, what

matters is the set of powers the Court considered as the basis for its decision, not any latent powers

that the agency may have had not alluded to by the Court.”). But, as explained above, the

Humphrey’s Executor Court did address each of the agency’s original abilities and concluded that

they posed no constitutional problems. Disputing Humphrey’s Executor on its own terms may

take Defendants back to 1935, but it gets them nowhere today.


                                 b.       The FTC’s “new” powers

       Putting aside the powers that the FTC possessed at its inception, Defendants next claim

that “the FTC has acquired immense new authority since 1935” in three primary ways. ECF

No. 32-1, at 15 (emphasis added). First, the FTC gained “consumer-protection authority . . . for

the first time in 1938.” Id.; see Wheeler-Lea Act § 3, 52 Stat. at 111 (giving the FTC authority to

combat “unfair or deceptive acts or practices in commerce” beginning in 1938). Second, “the

Commission acquired . . . the ability to seek preliminary and permanent injunctions in federal

court in the first instance” after Humphrey’s Executor. ECF No. 32-1, at 15; see Trans-Alaska Oil

Pipeline Act, § 408(f), 87 Stat. at 592 (permitting the FTC to “bring a suit in a district court of the

                                                  24
      Case 1:25-cv-00909-LLA          Document 51       Filed 07/17/25      Page 25 of 42




United States to enjoin” any practice that would violate the FTC Act beginning in 1973). And

third, the Congress gave the FTC “the ability to seek monetary penalties under Section 5 of the

FTC Act against private parties” in 1975. ECF No. 32-1, at 15; see Magnuson-Moss Act § 205(a),

88 Stat. at 2200-01 (allowing the FTC to “commence a civil action to recover a civil penalty [of

up to $10,000] in a district court of the United States against” a knowing violator of the FTC Act

beginning in 1975). These statements are all true as a factual matter, but none poses a legally

relevant basis on which to distinguish Humphrey’s Executor.

       Each of the FTC’s three “new” abilities are outgrowths of its original powers, rather than

dramatic transformations of the “character of the office.” See Humphrey’s Ex’r, 295 U.S. at 632.

Take the Commission’s so-called “consumer-protection” authorization: Defendants repeatedly

portray the 1938 amendment as a significant expansion of the FTC’s responsibilities, but the actual

language of the amendment was far more modest (and more closely related to FTC Act’s original

objectives). Specifically, the Wheeler-Lea Act modified Section 5 of the FTC Act—which already

targeted “unfair methods of competition in commerce”—to add “unfair or deceptive acts or

practices in commerce.” Compare FTC Act § 5, 38 Stat. at 719, with Wheeler-Lea Act § 3, 52

Stat. at 111-12. This certainly altered the ambit of the FTC’s mandate to “protect[] consumers as

well as competitors,” Fed. Trade Comm’n v. Sperry & Hutchinson Co., 405 U.S. 233, 244 (1972),

but a mere adjustment in purpose does not fundamentally change the way in which the FTC wields

its power or the structure of the agency. Congress may have given the FTC a new type of conduct

to regulate, but adding consumer protection as a goal is not the same as inflating or augmenting

the mechanisms by which the FTC pursues potential law breakers.

       Meanwhile, the FTC’s power to seek injunctive relief is closely tied to its original ability

to issue and enforce cease-and-desist orders. For example, from the agency’s inception, the FTC


                                                25
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 26 of 42




could level charges against entities it suspected of violating the FTC Act, order them to cease

whatever conduct gave rise to the charges, and then seek enforcement in federal court. FTC Act

§ 5, 38 Stat. at 719-21. On the flip side, parties subject to such an order could seek review in

federal court to try and dissolve it. Id. These orders had the force of law and “as affirmed, [are]

in essence a judicial decree.” Floersheim v. Engman, 494 F.2d 949, 953 (D.C. Cir. 1973); see

Kellogg Co. v. Fed. Trade Comm’n, No. 80-2292, 1981 WL 2021, at *3 (D.D.C. Feb. 17, 1981)

(observing that the FTC’s rulings have the “force of law” once “embodied in a cease and desist

order”). In many ways, a cease-and-desist order functions as a type of injunction: both “address

the same behavior and contain the same command: discontinue engaging in a specific unfair act

or practice.” LabMD, Inc. v. Fed. Trade Comm’n, 894 F.3d 1221, 1233 (11th Cir. 2018). In short,

“the FTC’s current power to seek injunctive relief . . . does not so materially differ from the power

to seek cease and desist orders as to render Humphrey’s Executor inapposite.” Fed. Trade Comm’n

v. Am. Nat’l Cellular, Inc., 810 F.2d 1511, 1514 (9th Cir. 1987); see Fed. Trade Comm’n v.

Kochava Inc., 671 F. Supp. 3d 1161, 1179 (D. Idaho 2023) (concluding that Seila Law did not alter

the Ninth Circuit’s holding in American National Cellular).8




8
  The court also notes that the FTC possessed the ability to seek injunctions against deceptive
advertising practices as early as 1938. Wheeler-Lea Act § 4, 52 Stat. at 114-15 (allowing “the
Commission . . . [to] bring suit in a district court of the United States . . . to enjoin the
dissemination or the causing of the dissemination of [a false] advertisement”). This power did not
require a preexisting cease-and-desist order related to the violative conduct. While this change
post-dated Humphrey’s Executor, it blunts Defendants’ implication that the FTC received a
groundbreaking increase of power in 1975 with its injunctive authority.

                                                 26
      Case 1:25-cv-00909-LLA          Document 51        Filed 07/17/25      Page 27 of 42




       For the most part, the same goes for the FTC’s authority to pursue monetary penalties.9

While different in nature from injunctions, this power is partially intertwined with the FTC’s

cease-and-desist powers. Under the Magnuson-Moss Act of 1975, the FTC gained the ability to

“commence a civil action to obtain a civil penalty” in federal court, but only if the FTC had

previously issued a cease-and-desist order relating to the penalized conduct. Magnuson-Moss Act

§ 205(a), 88 Stat. at 2201; 15 U.S.C. § 45(m)(1)(B). Similarly, Congress gave the FTC power to

pursue such penalties against entities that knowingly violated the Commission’s rules. Magnuson-

Moss Act § 205(a), 88 Stat. at 2200-01; 15 U.S.C. § 45(m)(1)(A). Admittedly, this second method

was not restricted to violations of cease-and-desist orders. But that alone does not place the FTC

in an entirely different realm from where it existed in 1935.

       While the “power to seek daunting monetary penalties against private parties in federal

court” is “a quintessentially executive power not considered in Humphrey’s Executor,” Seila Law,

591 U.S. at 219, even the Supreme Court has acknowledged that some executive powers may be

exercised by officers with removal protections. See Wiener, 357 U.S. at 352 (disavowing any

implication that Myers enabled the President “to remove officials, no matter what the relation of

the executive to the discharge of their duties” (emphasis added)). In Morrison, for example, the

Court considered the constitutionality of removal protections for independent counsels—officials

tasked with investigating and prosecuting crimes committed by “high-ranking Government



9
  The court draws a sharp distinction between the FTC’s and the Attorney General’s separate
abilities to seek monetary penalties. Two years before the FTC gained this power, the Trans-
Alaska Oil Pipeline Act of 1973 provided that any entity “who violates an order of the
Commission . . . shall forfeit and pay to the United States a civil penalty of not more than $10,000
for each violation.” Trans-Alaska Oil Pipeline Act § 408(c), 87 Stat. at 591. Critically, this sum
could only “be recovered in a civil action brought by the Attorney General of the United States.”
Id. (emphasis added). Because this enforcement mechanism is vested in the Attorney General, it
does not bear on the FTC’s ability to wield executive power.

                                                27
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 28 of 42




officials.” 487 U.S. at 660. Under the Ethics in Government Act, 28 U.S.C. § 591 et seq., an

independent counsel has “full power and independent authority to exercise all investigative and

prosecutorial functions and powers of the Department of Justice” and “handl[e] all aspects of any

case[] in the name of the United States.” Id. § 594(a). In short, their powers are expansive and

touch on the Executive Branch’s “law enforcement functions.” Morrison, 487 U.S. at 691. The

plaintiffs in Morrison thus argued that removal protections under Humphrey’s Executor could not

apply to such officials because they “performed a ‘core executive function’” and were neither

“quasi-legislative” nor “quasi-judicial.” Id. at 688-89. The Court disagreed. Even though it had

“rel[ied] on the terms ‘quasi-legislative’ and ‘quasi-judicial’ to distinguish the officials involved

in Humphrey’s Executor . . . from those in Myers,” it held that the constitutionality of for-cause

removal protections “cannot be made to turn on whether or not [the] official is classified as ‘purely

executive.’” Id. at 689. The Court doubled down, explaining that it “ha[d] never held that the

Constitution prevents Congress from imposing limitations on the President’s power to remove all

executive officials simply because they wield ‘executive’ power.” Id. at 689 n.27 (first emphasis

added). In the Court’s view, this fit neatly within the Humphrey’s Executor rule because “the

powers of the FTC [in 1935] would”—at the time of Morrison in 1988—“be considered

‘executive,’ at least to some degree.” Id. at 689 n.28. Therefore, the executive nature of some of

the FTC’s powers cannot be a death knell for its removal protections.

       Defendants’ claims are further undermined by the Supreme Court’s adherence to

Humphrey’s Executor even after the FTC gained each of its “immense” and “new” powers. ECF

No. 32-1, at 15. As another judge of this court observed when responding to precisely the same

argument: “most of [the] changes [to the FTC’s enforcement authority] occurred before W[ie]ner,

and all occurred before Morrison, yet both of those Supreme Court decisions relied upon the


                                                 28
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25     Page 29 of 42




central holding of Humphrey’s Executor.” Meta Platforms, Inc. v. Fed. Trade Comm’n, 723 F.

Supp. 3d 64, 87 (D.D.C.) (citations omitted), inj. pending appeal denied, No. 24-5054, 2024 WL

1549732, at *1 (D.C. Cir. Mar. 29, 2024). Through Wiener, Morrison, Free Enterprise Fund,

Seila Law, and Collins, the Supreme Court “left [Humphrey’s Executor] in place.” Seila Law, 591

U.S. at 215.10

       As alluded to above, see supra, Part V.C.1, there is no doubt that the Supreme Court has

retrenched from the holding of Humphrey’s Executor. The Court has certainly suggested that the

modern-day FTC has outgrown its 1935 counterpart. See Seila Law, 591 U.S. at 215-18 (referring

specifically to the “1935 FTC” throughout the opinion). But even if that is true, and even if this

court were confident that the Humphrey’s Executor Court or current Supreme Court would

eliminate the FTC’s removal protections, it still could not rule in Defendants’ favor in this case.

       It is not the role of this court to decide the correctness, prudence, or wisdom of the Supreme

Court’s decisions—even one from ninety years ago. Whatever the Humphrey’s Executor Court

may have thought at the time of that decision, this court will not second-guess it now. See Mallory,

600 U.S. at 136 (explaining that lower courts should “leav[e] to [the Supreme] Court the

prerogative of overruling its own decisions.” (quoting Rodriguez de Quijas, 490 U.S. at 484));

Nat’l Sec. Archive. v. Cent. Intel. Agency, 104 F.4th 267, 272 n.1 (D.C. Cir. 2024) (“This court is

charged with following case law that directly controls a particular issue, ‘leaving to [the Supreme]

Court the prerogative of overruling its own decisions.’” (alteration in original) (quoting Mallory,



10
   Rather than simply leaving Humphrey’s Executor “in place,” the Court’s decision in Free
Enterprise Fund necessarily relied on the case’s continued vitality. The central holding of Free
Enterprise Fund was that “multilevel protection from removal”—i.e., concentric layers of removal
protection for principal and inferior officers—“is contrary to Article II’s vesting of the executive
power in the President.” 561 U.S. at 484. That holding only makes sense if certain principal
officers are shielded from at-will removal (a shield that Humphrey’s Executor provides).

                                                 29
      Case 1:25-cv-00909-LLA          Document 51         Filed 07/17/25      Page 30 of 42




600 U.S. at 136)). This holds true even where a lower court believes that “intervening decisions

from [the Supreme] Court ha[ve] ‘implicitly overruled’” a previous holding. Mallory, 600 U.S.

at 136 (quoting Mallory v. Norfolk S. Ry. Co., 266 A.3d 542, 559 (Pa. 2021)); see Agostini, 521

U.S. at 237 (“We do not acknowledge, and we do not hold, that other courts should conclude our

more recent cases have, by implication, overruled an earlier precedent.”).

       Countless other courts have dutifully abided by this instruction. Faced with a nearly

identical challenge to the FTC’s removal protections, the Fifth Circuit held that “the question of

whether the FTC’s authority has changed so fundamentally as to render Humphrey’s Executor no

longer binding is for the Supreme Court, not us, to answer.” Illumina, 88 F.4th at 1047; see id.

(“While the Supreme Court has cabined the reach of Humphrey’s Executor in recent years, it has

expressly declined to overrule it.”). It rebuffed a similar challenge only a few months later,

explaining:

               As middle-management circuit judges, we must follow binding
               precedent, even if that precedent strikes us as out of step with
               prevailing Supreme Court sentiment. The logic of Humphrey’s may
               have been overtaken, but the decision has not been overruled—at
               least not yet. Until that happens, Humphrey’s controls.

Consumers’ Rsch., 91 F.4th at 346. A district court may not turn even substantial doubt about the

endurance of Supreme Court precedent into a decision that effectively contravenes it. See Mallory,

600 U.S. at 136 (explaining that lower courts should adhere to established precedent “even if [they]

think[] the precedent is in tension with ‘some other line of decisions’” (quoting Rodriguez de

Quijas, 490 U.S. at 484)).

       This point is best illustrated by the decision in Meta Platforms, a case this court finds quite

persuasive. Like here, the plaintiff in Meta Platforms argued that the FTC Act’s “for-cause

removal protection constitutes an unconstitutional restriction on the president’s removal powers.”


                                                 30
       Case 1:25-cv-00909-LLA          Document 51        Filed 07/17/25      Page 31 of 42




723 F. Supp. 3d at 86. Also like this case, the plaintiff relied on dicta from Seila Law to claim that

“Humphrey’s Executor does not dictate the outcome . . . because the [FTC] that exists today is a

fundamentally different body from the one that existed in 1935, when Humphrey’s Executor was

decided.” Id.; see ECF No. 32-1, at 14 (“[T]he question is not whether Humphrey’s Executor

remains good law, but whether the Supreme Court’s characterization of a 1935 FTC

Commissioner—the characterization on which its holding rested—remains true of today’s FTC

Commissioners.”). The Meta Platforms court rejected this argument because it “ignore[d] the

obligation of the lower courts to comply with on-point Supreme Court precedent, even when the

foundation of the precedent has arguably been eroded by the passage of time and more recent

precedent.” 723 F. Supp. 3d at 87 (emphasis added).11 This court agrees, not only because Meta

Platforms is persuasive, but also because it has no other choice under ninety years of established

law.

                                          *       *       *

       Defendants are, of course, free to take their quarrels with Humphrey’s Executor to the

Supreme Court. This court has no illusions about where this case’s journey leads. But for the time

being, Defendants’ attempt to remove Ms. Slaughter from her position as an FTC Commissioner

did not comply with the FTC Act’s removal protections. Because those protections remain

constitutional, as they have for almost a century, Ms. Slaughter’s purported removal was unlawful

and without legal effect.




11
   The Meta Platforms court went on to reject the premises of the plaintiff’s argument, much like
this court does here. See 723 F. Supp. 3d at 87 (“Even placing [the] dispositive difficulties to the
side, the premises of Meta’s argument are far from convincing.”); see supra, pp. 22-31.

                                                 31
      Case 1:25-cv-00909-LLA              Document 51       Filed 07/17/25    Page 32 of 42




       D.      Whether Ms. Slaughter Is Entitled to Declaratory and Injunctive Relief

       The illegality of Defendants’ actions, while plain, does not settle the availability of relief

to Ms. Slaughter. She seeks a declaration that Defendants’ actions violated the law, ECF No. 1

¶¶ 47-49; id. at 19, and requests injunctive or mandamus relief preventing her removal as an FTC

Commissioner, id. ¶¶ 52-56; id. at 20. Defendants, meanwhile, argue that the court cannot provide

any such relief. ECF No. 32-1, at 17-27. The court agrees with Ms. Slaughter.


                                     1.      Declaratory relief

       The dispute over the propriety of a declaratory judgment is easily settled. Under the

Declaratory Judgment Act, 28 U.S.C. § 2201, any court presiding over an “actual controversy

within its jurisdiction . . . may declare the rights and other legal relations of any interested party

seeking such declaration, whether or not further relief is or could be sought.” Id. § 2201(a).

Whether to grant such a remedy “always rests within the sound discretion of the court,” President

v. Vance, 627 F.2d 353, 364 n.76 (D.C. Cir. 1980), and doing so is appropriate if (1) “the judgment

will serve a useful purpose in clarifying the legal relations at issue,” or (2) “the judgment will

terminate and afford relief from the uncertainty, insecurity, and controversy giving rise to the

proceeding,” New York v. Biden, 636 F. Supp. 3d 1, 31 (D.D.C. 2022) (quoting Glenn v. Thomas

Fortune Fay, 222 F. Supp. 3d 31, 36 (D.D.C. 2016)).

       While the law governing this case was already clear, a reminder seems—unfortunately—

necessary. As explained at length above, supra, Part V.C, Defendants’ removal of Ms. Slaughter

was blatantly unlawful according to the FTC Act, Humphrey’s Executor, and a chorus of courts

that have rejected identical arguments time and again. That removal was therefore without legal

effect. Issuing a declaratory judgment settles Ms. Slaughter’s status, as Defendants’ actions have

left her in legal limbo pending the outcome of this case.


                                                 32
       Case 1:25-cv-00909-LLA           Document 51         Filed 07/17/25       Page 33 of 42




        Defendants assert that declaratory relief is unavailable here because injunctive relief—a

related equitable remedy—cannot issue against the President. ECF No. 32-1, at 25-26. The court

is unpersuaded. Although equitable principles governing declaratory judgments and injunctive

relief are somewhat intertwined, they do not rise and fall together in every conceivable case. See

Samuels v. Mackell, 401 U.S. 66, 73 (1971) (explaining that there may be circumstances

warranting declaratory relief in the absence of injunctive relief). The Supreme Court expressly

disavowed any “suggest[ion] that a declaratory judgment should never be issued . . . if it has been

concluded that injunctive relief would be improper.” Id. In fact, “a declaratory judgment might

be appropriate and . . . [not] contrary to the basic equitable doctrines governing the availability of

relief” in certain situations, like where the plaintiff has a “strong claim for relief” but an injunction

would be “particularly intrusive or offensive.” Id.

        The court faces that precise scenario here. It may not enjoin the President directly, see

Franklin v. Massachusetts, 505 U.S. 788, 802 (1992) (plurality opinion), making this a unique

situation in which the nature of the legal violation is obvious, but where Ms. Slaughter cannot

acquire relief against the specific actor responsible. A declaratory judgment here clarifies the legal

landscape and eliminates the “uncertainty, insecurity, and controversy giving rise to the

proceeding”: Ms. Slaughter’s status vis-à-vis the Commission. Glenn, 222 F. Supp. 3d at 36. For

that reason, the court will issue a declaratory judgment that the President’s purported removal of

Ms. Slaughter was invalid and that she is a rightful Commissioner of the FTC.


                                       2.      Injunctive relief

        Defendants next argue that the court cannot reinstate an executive officer after she has been

removed and that Ms. Slaughter’s only recourse is through a suit for backpay. ECF No. 32-1,

at 18-21. Ms. Slaughter counters that she does not seek “reinstatement,” per se, because her

                                                   33
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25       Page 34 of 42




original removal was a “legal nullity.” ECF No. 20-2, at 31. In the end, this semantic quibble

makes little difference because the D.C. Circuit has already spoken directly to the available

remedies for wrongly terminated officers.

       It is well established that the President is the only person who can appoint principal officers.

See United States v. Arthrex, Inc., 594 U.S. 1, 12 (2021). And “enjoining the President to make a

formal appointment”—or reinstatement—“would be a constitutionally exceptional step” because

a “court generally may not ‘enjoin the President in the performance of his official duties.’”

Severino v. Biden, 71 F.4th 1038, 1042 (D.C. Cir. 2023) (quoting Franklin, 505 U.S. at 803). But

in Swan v. Clinton, 100 F.3d 973 (D.C. Cir. 1996), the D.C. Circuit held that a court can provide

adequate equitable remedies to “removed” officers by enjoining subordinate officials instead:

               While these officials cannot officially . . . reinstate [the plaintiff],
               they can accomplish these deeds de facto by treating [the plaintiff]
               as a member of the . . . Board and allowing him to exercise the
               privileges of that office—i.e., including [the plaintiff] in Board
               meetings, giving him access to his former office, recording his votes
               as official votes of a Board member, allowing him to draw the salary
               of a Board member, etc. . . .

Id. at 980. The D.C. Circuit reaffirmed this holding only two years ago in Severino, explaining

that a court may “enjoin ‘subordinate executive officials’ to reinstate a wrongly terminated official

‘de facto,’ even without a formal presidential reappointment.” 71 F.4th at 1042-43 (quoting Swan,

100 F.3d at 980).

       Defendants try to undercut Swan’s and Severino’s usefulness by cabining both cases as

only analyzing standing, ECF No. 32-1, at 21 n.3, but the court disagrees. While both opinions

dealt with redressability, their core holdings—that the plaintiffs’ injuries were redressable because

injunctions could issue against subordinate officials—are directly applicable here. If the opposite

were true, then there would have been no redressability in either case. It would make no sense for


                                                 34
         Case 1:25-cv-00909-LLA        Document 51        Filed 07/17/25      Page 35 of 42




the D.C. Circuit to hold that wrongly terminated officials can remedy their injuries through

targeted injunctions if courts cannot grant those injunctions.

         Accordingly, injunctive relief is available here. But to show that such relief is warranted,

a plaintiff must demonstrate (1) that she has “suffered an irreparable injury”; (2) that the “remedies

available at law, such as money damages, are inadequate to compensate for that injury”; (3) that

the “balance of hardships between the plaintiff and defendant” warrants a remedy in equity; and

(4) that “the public interest would not be disserved by a permanent injunction.” Anatol Zukerman

& Charles Krause Reporting, LLC, 64 F.4th at 1364 (quoting eBay Inc. v. MercExchange, LLC,

547 U.S. 388, 391 (2006)). The third and fourth factors merge when the government is the

opposing party. Id.


                                      a.      Irreparable harm

         Simply losing one’s employment is ordinarily insufficient to show irreparable harm

because a plaintiff can be made whole through backpay. See Sampson v. Murray, 415 U.S. 61,

91-92 (1974) (holding that a “loss of income . . . falls far short of the type of irreparable injury

which is a necessary predicate to the issuance of a temporary injunction”). That said, “the

circumstances surrounding an employee’s discharge” can sometimes “so far depart from the

normal situation that irreparable injury might be found.” Id. at 92 n.68. Here, Ms. Slaughter

asserts a unique injury in being deprived of a “statutory right” to serve on the FTC. ECF No. 20-2,

at 28.

         Courts and advocates have spilled entire inkwells over this particular type of harm and

whether it qualifies as “irreparable.” See Harris, 775 F. 3d. at 185-87; Wilcox, 775 F. 3d at 235-36;

Grundmann, 770 F. Supp. 3d at 187-88. Almost every court to address the question in the recent

slew of wrongful-removal cases has agreed that this harm meets the irreparable threshold. See id.

                                                 35
      Case 1:25-cv-00909-LLA          Document 51       Filed 07/17/25      Page 36 of 42




But see Brehm v. Marocco, No. 25-CV-660, at 4-9 (D.D.C. Mar. 11, 2025) (order denying motion

for a temporary restraining order).

       Being deprived of employment in the normal course does not compare to being removed

from a Presidentially appointed, Senate-confirmed, high-ranking, public-servant role. Serving on

the FTC is different in caliber and kind from working as a Library of Congress employee, see

Davis v. Billington, 76 F. Supp. 3d 59, 65-66 (D.D.C. 2014), in the Foreign Service, see Farris v.

Rice, 453 F. Supp. 2d 76, 79-81 (D.D.C. 2006), or as part of the General Services Administration,

see Sampson, 415 U.S. at 90-92. In losing her position on the Commission, Ms. Slaughter lost the

ability to influence federal decision-making on anticompetitive practices or take steps to protect

American consumers from deceptive and exploitive businesses.

       Aside from the subject matter of the work, the unique role of an FTC Commissioner also

includes the opportunity to serve as part of a bipartisan, congressionally protected agency that is

designed to operate “independent of executive authority.” Humphrey’s Ex’r, 295 U.S. at 625.

Serving in a “presidentially appointed and congressionally confirmed position of high importance”

is already unique enough, Wilcox, 775 F. Supp. 3d at 223, but Ms. Slaughter also helps run a

multimember commission that is “free to exercise its judgment without the leave or hindrance of

any other official or any department of the government,” Humphrey’s Ex’r, 295 U.S. at 625-26.

Permitting her removal necessarily destroys that legislatively crafted independence in a way that

injures Ms. Slaughter, the FTC, and Congress. Defendants repeatedly want the FTC to be

something it is not: a subservient agency subject to the whims of the President and wholly lacking

in autonomy. But that is not how Congress structured it. Undermining that autonomy by allowing

the President to remove Commissioners at will inflicts an exceptionally unique harm distinct from

the mine run of wrongful termination cases. See id. at 629 (“[I]t is quite evident that one who


                                                36
      Case 1:25-cv-00909-LLA            Document 51        Filed 07/17/25       Page 37 of 42




holds his office only during the pleasure of another cannot be depended upon to maintain an

attitude of independence against the latter’s will.”); see also Harris, 775 F. Supp. 3d. at 185

(emphasizing the loss of independence as a uniquely irreparable harm); Wilcox, 775 F. Supp. 3d

at 236 (same); Grundmann, 770 F. Supp. 3d at 188 (same).                Ms. Slaughter has therefore

demonstrated an irreparable injury.


                                  b.      Available remedies at law

        In the wrongful-termination context, irreparable injury and the availability of remedies at

law tend to collapse into one another. See Grundmann, 770 F. Supp. 3d at 187 (“The first two

factors ‘are often considered together.’” (quoting Wilcox, 775 F. Supp. 3d at 235 n.20)). The very

reasons why Ms. Slaughter’s unique injuries are irremediable are why monetary compensation is

inadequate. Backpay does not restore her ability to influence FTC decision-making in the past or

in the future. Nor does it restore independence to her role or the agency after it has been stripped

away. See Harris, 775 F. Supp. 3d. at 185; Wilcox, 775 F. Supp. 3d at 235-36; Grundmann, 770

F. Supp. 3d at 188 (“A check in the mail does not address the gravamen of this lawsuit. Perhaps

that is why Ms. [Slaughter] has not even asked for one.”). A remedial paycheck is cold comfort if

the FTC’s very independence can be tossed aside at the relatively low cost of providing backpay.

Accordingly, the court concludes that remedies at law are insufficient here.


                       c.      Balance of the equities and the public interest

        Defendants protest that requiring the President to retain officials who refuse to do his

bidding inflicts a grave constitutional harm and hinders his Article II duties under the Take Care

Clause. ECF No. 32-1, at 24-25. But Defendants have it backward. The Constitution does not

task the President with taking care that his preferred policies be faithfully executed; it requires that



                                                  37
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 38 of 42




he faithfully execute the laws of the United States. U.S. Const. art. II, § 3. One of those laws is

the FTC Act, in which Congress enshrined independence-preserving removal protections for FTC

Commissioners more than a century ago. Defendants repeatedly conflate the President’s desired

policy goals with the “Laws” of the country, but a president cannot faithfully execute the laws or

“preserve, protect[,] and defend the Constitution,” U.S. Const. art. II, § 1, by running roughshod

over congressionally enacted legislation. The delicate balance between our three branches of

government is sacrosanct; it lies at the heart of our democratic republic and cannot be cast aside in

the name of one administration’s political whims.

       Defendants further argue that “prevent[ing] the President from implementing his electoral

mandate through his subordinates . . . is an affront to the Constitution and to the American people[]

who elected President Trump to manage the Executive Branch of their government.” ECF

No. 32-1, at 24-25. Not so. Member of Congress, too, are elected by the people. And Congress

made a deliberate choice to build the FTC as an independent agency, comprised of a “multimember

body of experts, balanced along partisan lines,” to protect the American population from unfair,

deceptive, and exploitive business practices. Seila Law, 591 U.S. at 216. For ninety years,

Congress, the courts, and thirteen Presidents have respected that institution. That the current

President now views it as an obstacle does not inflict a grave injury to the public interest, it is by

design. As the Supreme Court has recognized repeatedly, Congress safeguarded the FTC from

unfettered removal to serve the public interest:

               The [C]ommission is to be nonpartisan; and it must, from the very
               nature of its duties, act with entire impartiality. . . . [I]ts members
               are called upon to exercise the trained judgment of a body of experts
               “appointed by law and informed by experience.” . . . “The work of
               this [C]ommission will be of a most exacting and difficult character,
               [and] . . . [i]t is manifestly desirable that the terms of the
               [C]ommissioners shall be long enough to give them an opportunity


                                                   38
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25       Page 39 of 42




               to acquire the expertness in dealing with these special questions
               concerning industry that comes from experience.”

Humphrey’s Ex’r, 295 U.S. at 624 (quoted sources omitted). With respect to the importance of

the FTC’s independence, the Court observed:

               [O]ne advantage which the [C]ommission possessed . . . lay in the
               fact of its independence, and that it was essential that [it] should not
               be open to the suspicion of partisan direction. . . . [T]he prevailing
               view was that the Commission was not to be “subject to anybody in
               the government but . . . only to the people of the United States”; free
               from “political domination or control” or the “probability or
               possibility of such a thing”; to be “separate and apart from any
               existing department of the government—not subject to the orders of
               the President.”

Id. at 625 (emphases added) (seventh alteration in original) (quoted source omitted). In essence,

to grant Defendants’ wish and subject a Commissioner to “the mere will of the President” would

“be to thwart . . . the very ends which Congress sought to realize by definitely fixing the term of

office.” Id. at 626.

       The court does not measure equities or the public interest from a single perspective. It

must evaluate them in “totality.” Fund For Animals v. Clark, 27 F. Supp. 2d 8, 15 (D.D.C. 1998).

And it is entirely unclear how removing a Commissioner who has dutifully fulfilled her public-

service role will benefit the public interest, especially when her removal contravenes federal law

and established Supreme Court precedent. It goes without saying that “there is a substantial public

interest ‘in having governmental agencies abide by the federal laws that govern their existence and

operations.’” League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

(quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). That substantial interest does

not disappear simply because the President dislikes the laws he seeks to invalidate. Because

Defendants “cannot suffer harm from an injunction that merely ends an unlawful practice or reads

a statute as required,” R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015), the court

                                                 39
      Case 1:25-cv-00909-LLA           Document 51        Filed 07/17/25      Page 40 of 42




concludes that the balance of the equities and public interest support equitable relief for

Ms. Slaughter.


                 d.    The effect of the Supreme Court’s stay in Trump v. Wilcox

       Of course, the court cannot ignore the Supreme Court’s recent stay in Wilcox and Harris—

two district court decisions that granted permanent injunctions to wrongfully terminated members

of the NLRB and MSPB, respectively. See Wilcox, 145 S. at 1415. The Court’s stay “reflect[ed]

[its] judgment that the Government faces greater risk of harm from an order allowing a removed

officer to continue exercising the executive power than a wrongfully removed officer faces from

being unable to perform her statutory duty.” Id. Such a statement certainly weighs against

Ms. Slaughter’s arguments regarding irreparable harm and the balance of the equities in this case.

But at this early stage, when the Supreme Court has yet to pass judgment “after full briefing and

argument,” id., this court is unsure of what to make of the Court’s one-sentence pronouncement in

a four-paragraph grant of a stay application. It does not represent a final, definitive, and reasoned

decision on the merits. And the order does not cite any substantive case law to support its brief

statement on irreparable harm or the balance of the equities. In fact, the only case law it cites in

this portion of the order reinforces the notion that the stay does not “conclusively determine the

rights of the parties.” Id. (quoting Trump v. Int’l Refugee Assistance Project, 582 U.S. 571, 580

(2017) (per curiam)). Because the Supreme Court explicitly reserved judgment on the legal

questions until the litigation can run its course, this court will not upend its own analysis on the

basis of a procedural order that fails to address Humphrey’s Executor or the FTC.

                                          *      *       *

       As the preceding paragraphs make clear, Ms. Slaughter has met her burden of showing

entitlement to a permanent injunction. Such relief is available through targeted means, as

                                                 40
      Case 1:25-cv-00909-LLA            Document 51        Filed 07/17/25       Page 41 of 42




evidenced by Swan and Severino. It would also remedy an irreparable injury given the unique

nature of her role as part of a specially crafted independent agency—an injury that cannot be

alleviated through monetary means. Finally, the balance of the equities and public interest heavily

favor enforcing clearly established law that has been enacted by a coequal branch of government,

reaffirmed by another coequal branch, and acquiesced to by thirteen executives over the course of

ninety years.12




12
   In the alternative, Ms. Slaughter also requests a writ of mandamus prohibiting her removal from
office. ECF No. 20-2, at 32-34. Because mandamus is only proper where “there is no other
adequate remedy available,” In re Nat’l Nurses United, 47 F.4th 746, 752 n.4 (D.C. Cir. 2022),
and because the court concludes that an injunction is clearly warranted, the court need not issue
mandamus relief. That said, for the same reasons discussed at length in this opinion, mandamus
relief would be proper if injunctive relief were to become unavailable. The remaining two
requirements of mandamus relief are satisfied here: (1) Ms. Slaughter’s right to relief is “clear”
under existing Supreme Court precedent and the FTC Act, and (2) Defendants’ duty to act in
upholding their commitment to that law is plain. See id. In fact, as other judges of this court have
meticulously explained, requests for “reinstatement” have historically been “styled as writs of
mandamus or quo warranto before courts of law instead of requests for injunctions before courts
of equity.” Wilcox, 775 F. Supp. 3d at 237 n.22. And “[t]o the extent that English equity courts
declined to issue injunctions reinstating officials to their positions, they likely did so because the
King’s Bench, a court of law, would readily issue mandamus instead.” Harris, 775 F. Supp. 3d
at 182. Even the predecessor court to the D.C. Circuit observed this distinction at the time the
FTC was created: “[W]hen a person in office de jure [and] de facto is interfered with . . . it is not
only proper, but best, to settle the question by mandamus.” Kalbfus v. Siddons, 42 App. D.C. 310,
320 (D.C. Cir. 1914) (quoting Lawrence v. Hanley, 47 N.W. 753, 754 (Mich. 1891)). The upshot
of this history is that, when the right to relief is glaringly apparent in a removal case, the plaintiff
is entitled to some form of remedy that prevents her removal. Whether that relief takes the form
of an injunction or a writ of mandamus is less important than whether it issues at all.

                                                  41
     Case 1:25-cv-00909-LLA        Document 51        Filed 07/17/25     Page 42 of 42




                                  VI.     CONCLUSION

      For the foregoing reasons, the court will dismiss Mr. Bedoya’s claims as moot, will grant

Ms. Slaughter’s Motion for Summary Judgment, ECF No. 20, and will deny Defendants’ Cross-

Motion for Summary Judgment, ECF No. 32. A contemporaneous order will issue.




                                                  LOREN L. ALIKHAN
                                                  United States District Judge
Date: July 17, 2025




                                             42
